                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


LEAGUE OF UNITED LATIN
AMERICAN CITIZENS et aL,

                       Plaintiffs,

V.                                               Civil Action No. l:18-cv-00423(LO/IDD)

PUB. INTEREST FOUND., et aL,

                       Defendants.



                                            ORDER


       This MATTER is before the Court on Defendants' Motion to Compel [Dkt. No. 128].

Pursuant to the Notice filed by the parties on May 9,2019 [Dkt. No. 142], it is hereby

       ORDERED that Defendants' Motion is DENIED as moot.

       The Clerk is directed to forward copies of this Order to all counsel of record.

       ENTERED this 9^^ day of May 2019.



                                                                     /s/
                                                     Ivan D. Davis
                                                     United States Magistrate Judge
Alexandria, Virginia
